           Case 3:20-cr-00249-RS    Document 675-7   Filed 06/06/25    Page 1 of 22
NAC Foundation, LLC
                                                                          INVOICE
                                                                                          INV-4872



                                                                       Date:   Feb 12, 2018
Bill To:
                                                            Payment Terms:     NET 10
Boubacar Ndiaye
                                                                   Due Date:   Feb 22, 2018

                                                             Balance Due:      $0




Item                                                    Quantity        Rate              Amount

AML Token Sale deposit to account                       1               $ 22,500          $ 22,500




                                                                      Total:   $ 22,500

                                                               Amount Paid:    $ 22,500




                                                                               EX3138-001
            Case 3:20-cr-00249-RS            Document 675-7          Filed 06/06/25       Page 2 of 22

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Please add the amount of the wire charge (international or domestic) to the total amount of your payment.

Please allow approximately five (5) days after your wire is sent for your token account to be credited.



CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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Inc., A Professional Corporation (“DSA, APC”), pursuant to rules of the State Bar of Nevada. DSA, APC acts as
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with ICOBox or any party, connected with the ICO, other than NAC Foundation, LLC

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confirmation to




                                                                                                 EX3138-002
           Case 3:20-cr-00249-RS    Document 675-7   Filed 06/06/25    Page 3 of 22
NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-4874



                                                                       Date:    Feb 12, 2018
Bill To:
                                                            Payment Terms:      NET 10
SEO YOUNG WOOK
                                                                   Due Date:    Feb 22, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 500            $ 500




                                                                      Total:    $ 500

                                                               Amount Paid:     $ 500




                                                                                EX3138-003
Case 3:20-cr-00249-RS   Document 675-7   Filed 06/06/25   Page 4 of 22
           Case 3:20-cr-00249-RS    Document 675-7   Filed 06/06/25    Page 5 of 22
NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-4882



                                                                       Date:      Feb 12, 2018
Bill To:
                                                            Payment Terms:        NET 10
Kathy Parsons
                                                                   Due Date:      Feb 22, 2018

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 1,500             $ 1,500




                                                                      Total:      $ 1,500

                                                               Amount Paid:       $ 1,500




                                                                               EX3138-005
            Case 3:20-cr-00249-RS            Document 675-7          Filed 06/06/25       Page 6 of 22

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3138-006
           Case 3:20-cr-00249-RS    Document 675-7   Filed 06/06/25    Page 7 of 22
NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-4888



                                                                       Date:    Feb 12, 2018
Bill To:
                                                            Payment Terms:      NET 10
Dan O'Donnell
                                                                   Due Date:    Feb 22, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 900            $ 900




                                                                      Total:    $ 900

                                                               Amount Paid:     $ 900




                                                                                EX3138-007
            Case 3:20-cr-00249-RS            Document 675-7          Filed 06/06/25       Page 8 of 22

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3138-008
           Case 3:20-cr-00249-RS    Document 675-7   Filed 06/06/25    Page 9 of 22
NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-4893



                                                                       Date:      Feb 12, 2018
Bill To:
                                                            Payment Terms:        NET 10
George Janicki
                                                                   Due Date:      Feb 22, 2018

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 1,867             $ 1,867




                                                                      Total:      $ 1,867

                                                               Amount Paid:       $ 1,867




                                                                               EX3138-009
           Case 3:20-cr-00249-RS            Document 675-7          Filed 06/06/25       Page 10 of 22

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3138-010
           Case 3:20-cr-00249-RS    Document 675-7   Filed 06/06/25    Page 11 of 22
NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-4908



                                                                       Date:      Feb 12, 2018
Bill To:
                                                            Payment Terms:        NET 10
Alireza Aliaskari
                                                                   Due Date:      Feb 22, 2018

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 4,500             $ 4,500




                                                                      Total:      $ 4,500

                                                               Amount Paid:       $ 4,500




                                                                               EX3138-011
           Case 3:20-cr-00249-RS            Document 675-7          Filed 06/06/25       Page 12 of 22

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CHASE BANK
ACCOUNT NAME:



            :
ACCOUNT NUMBER:              7620




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                                                                                                 EX3138-012
           Case 3:20-cr-00249-RS    Document 675-7   Filed 06/06/25    Page 13 of 22
NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-4946



                                                                       Date:      Feb 13, 2018
Bill To:
                                                            Payment Terms:        NET 10
Philip Downey Essner
                                                                   Due Date:      Feb 23, 2018

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 5,000             $ 5,000




                                                                      Total:      $ 5,000

                                                               Amount Paid:       $ 5,000




                                                                               EX3138-013
           Case 3:20-cr-00249-RS            Document 675-7          Filed 06/06/25       Page 14 of 22

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3138-014
           Case 3:20-cr-00249-RS    Document 675-7   Filed 06/06/25    Page 15 of 22
NAC Foundation, LLC
                                                                          INVOICE
                                                                                         INV-4969



                                                                       Date:    Feb 13, 2018
Bill To:
                                                            Payment Terms:      NET 10
Jacob
                                                                   Due Date:    Feb 23, 2018

                                                             Balance Due:       $0




Item                                                    Quantity        Rate             Amount

AML Token Sale deposit to account                       1               $ 275            $ 275




                                                                      Total:    $ 275

                                                               Amount Paid:     $ 275




                                                                                EX3138-015
           Case 3:20-cr-00249-RS            Document 675-7          Filed 06/06/25       Page 16 of 22

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CHASE BANK
ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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                                                                                                 EX3138-016
Case 3:20-cr-00249-RS   Document 675-7   Filed 06/06/25   Page 17 of 22
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ACCOUNT NUMBER:              7620




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                                                                                                 EX3138-018
           Case 3:20-cr-00249-RS    Document 675-7   Filed 06/06/25    Page 19 of 22
NAC Foundation, LLC
                                                                          INVOICE
                                                                                            INV-4992



                                                                       Date:      Feb 14, 2018
Bill To:
                                                            Payment Terms:        NET 10
Philip Downey Essner
                                                                   Due Date:      Feb 24, 2018

                                                             Balance Due:         $0




Item                                                    Quantity        Rate                Amount

AML Token Sale deposit to account                       1               $ 3,900             $ 3,900




                                                                      Total:      $ 3,900

                                                               Amount Paid:       $ 3,900




                                                                               EX3138-019
           Case 3:20-cr-00249-RS            Document 675-7          Filed 06/06/25       Page 20 of 22

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CHASE BANK
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ACCOUNT NUMBER:              7620




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                                                                                                 EX3138-020
           Case 3:20-cr-00249-RS    Document 675-7   Filed 06/06/25    Page 21 of 22
NAC Foundation, LLC
                                                                          INVOICE
                                                                                        INV-5007



                                                                       Date:   Feb 14, 2018
Bill To:
                                                            Payment Terms:     NET 10
Block Bits Capital
                                                                   Due Date:   Feb 24, 2018

                                                             Balance Due:      $0




Item                                                    Quantity        Rate            Amount

AML Token Sale deposit to account                       1               $ 214,500       $ 214,500




                                                                      Total:   $ 214,500

                                                               Amount Paid:    $ 214,500




                                                                               EX3138-021
           Case 3:20-cr-00249-RS            Document 675-7          Filed 06/06/25       Page 22 of 22

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ACCOUNT NAME:




ACCOUNT NUMBER:              7620




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confirmation to




                                                                                                 EX3138-022
